            Case 1:15-cv-00259-LY Document 9 Filed 06/11/15 Page 1 of 1
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                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION    E IL                          p   L'       f   T   E   X AS


JORGE CASTANEDA,
   Plaintiff,
                                                         §
V.
                                                         §   CIVIL ACTION NO. 1:15-cv-00259-LY
                                                         §
TRAVELERS LLOYDS OF TEXAS                                §
INSURANCE COMPANY                                        §
   Defendant.                                            §



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         Before the Court is Plaintiff, Jorge Castaneda and Defendant, Travelers Lloyds of Texas

Insurance Company's Agreed Motion to Remand (the "Motion"). The Court, having reviewed

the Motion, is of the opinion that it should be GRANTED. It is, therefore

         ORDERED that the motion to remand is hereby GRANTED, this matter will be

remanded to the state court where it was originally filed.


Signed   thi/%4day                   2015

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